Case 3:98-cr-30010-RGJ-KLH          Document 1249         Filed 12/05/07     Page 1 of 1 PageID #:
                                            2696




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION

 UNITED STATES OF AMERICA                             *    CRIMINAL NO. 98-30010-22

 VERSUS                                               *    JUDGE JAMES

 BRANDON CARYELL FLINTROY                             *    MAGISTRATE JUDGE HAYES

                                              ORDER

        The government shall file a reply brief to the defendant’s motion to vacate, set aside, or

 correct sentence under § 2255 (Doc. #1247) – erroneously entitled “motion for modification of

 supervised release under 18 U.S.C. § 3565(a)(1)” – within thirty days of the date of this order.

        THUS DONE AND SIGNED at Monroe, Louisiana, this 5th day of December, 2007.
